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 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                        )
                                                       )
 9                          Plaintiff,                 )
                                                       )
10            v.                                       )          2:10-CR-547-RLH-(GWF)
                                                       )
11    NICHOLAS GHAFOURIA,                              )
                                                       )
12                          Defendant.                 )

13                            PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on October 1, 2012, defendant NICHOLAS GHAFOURIA pled guilty

15    to Counts One and Two of a Two-Count Superseding Criminal Information charging him in Count

16    One with Conspiracy to Launder Monetary Instruments in violation of Title 18, United States Code,

17    Section 1956(a)(1)(B)(i) and (h); and in Count Two with Conspiracy to Distribute Oxycodone in

18    violation of Title 21, United States Code, Sections 841(a)(1) and 846. Superseding Criminal

19    Information, ECF No. 666; Plea Memorandum, ECF No. 671; Minutes of Change of Plea Proceedings,

20    ECF No. 673.

21            This Court finds defendant NICHOLAS GHAFOURIA agreed to the forfeiture of the property

22    set forth in the Forfeiture Allegations of the Superseding Criminal Information and the Plea

23    Agreement. Superseding Criminal Information, ECF No. 666; Plea Memorandum, ECF No. 671;

24    Minutes of Change of Plea Proceedings, ECF No. 673.

25            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

26   America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the
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 1   Superseding Criminal Information and the Plea Agreement and the offense to which defendant
 2   NICHOLAS GHAFOURIA pled guilty.
 3            The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section
 4   981(a)(1)(A) and Title 28, United States Code, Seciton 2461(c); Title 21, United States Code, Section
 5   853(p); Title 18, United States Code, Section 982(a)(1); Title 21, United States Code, Section
 6   853(a)(1) and (a)(2); Title 18, United States Code, Section 924(d)(1), (2)(C), and (3)(B) and Title 28,
 7   United States Code, Section 2461(c); and Title 21, United States Code, Section 881(a)(11) and Title
 8   28, United States Code, Section 2461(c):
 9           1.     1 Rolex Watch;
             2.     1 Hublot Geneve Watch;
10           3.     1 Breitling Watch;
             4.     1 Jacob and Company Watch w/appraisal from gemological lab services stating watch
11                  valued at $41,000.00;
             5.     1 Rolex Watch (2 total rolex);
12           6.     1 Baume and Mercier Geneve Watch;
             7.     1 Herstal Belgium FS2000 assault rifle, black in color, 5.56 caliber, S/N: 038244,
13                  stored in black gun bag w/attached fore grip/bi-pod and attached light;
             8.     1 DPMS Panther Arms w/attached scope, black in color long gun, caliber 308, model
14                  LR-308, S/N: 5381, stored in black gun bag;
             9.     2 clips, one with 223 ammo, 1 with 308 ammo, in black gun bag;
15           10.    1 IZHMASH Long Gun w/attached grip, scope, and light, S/N: H09403606;
             11.    1 Herstal Belgium SCAR 165 Assualt Rifle w/attached scope, grip, and light, tan in
16                  color, S/N: LC410159;
             12.    1 Smith & Wesson P22, .22LR caliber, S/N: L347151;
17           13.    1 FNP 45, 45 caliber, S/N: 61DMP11804;
             14.    1 Norinco model 213, 0 mm caliber, S/N: 725954;
18           15.    1 FNH, FNP-357, .357 caliber, S/N: 61EMR10379;
             16.    1 masterpiece arms 9mm w/attached barrel extension and light, S/N: F10017;
19           17.    1 Masterpiece Arms 45 ACP w/attached barrel extension, light and scope, S/N: A9358;
             18.    1 Long Gun, Barrel 7.62 mm, S/N: 2743;
20           19.    1 K Sports Gun Case;
             20.    1 Shotgun Drum Barrel w/19 Rounds, no SN;
21           21.    1 Alliance Armament w/27 Winchester 12 gauge shot gun shells;
             22.    1 Alliance Armament magazine, w/34 .22 caliber rounds;
22           23.    1 magazine 40 S&W, .357 sig, w/14 rounds;
             24.    1 8.5" Mag 40 Cal S&W w/30 rounds;
23           25.    1 Mag .223, w/24 rounds;
             26.    1 15.5" mag, 9mm w/50 rounds;
24           27.    1 10" mag, 45 cal, w/17 rounds;
             28.    1 black magazine w/8 rounds 9mm, S/N: 5954;
25           29.    1 Mag- Saiga 12, 11 rounds double 00 buck;
             30.    1 mag, 45 acp, 13 rounds;
26           31.    1 Lellier & Bellot Buck Shot Box w/17 rounds;

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 1            32.   Mossberg Shotgun, S/N: T517595;
              33.   AK47 w/attached light and grip, S/N: DR- 5109-09;
 2            34.   FNH, cal 5.7 x 28, S/N: 386143079, w/barrel extension and various magazines;
              35.   Glock magazine w/9 40 caliber rounds;
 3            36.   magazine w/18 5.7 rounds;
              37.   1 762 round, 1 - 223 round, 1 - 5.7 round;
 4            38.   1 four magazine holster w/three loaded magazines 60 5.7 x 28 rounds;
              39.   1 magazine w/26 rounds;
 5            40.   2 empty magazines;
              41.   380 auto rounds;
 6            42.   25 auto rounds;
              43.   1 308 winchester soft grain point;
 7            44.   .22 long rifle rounds;
              45.   2 - ammo containers containing shotgun shells;
 8            46.   2 ammo cases containing 7.62 x 39mm rounds;
              47.   1 ammo case containing 5.56 rounds;
 9            48.   1 ammo case containing 9 mm rounds;
              49.   1 ammo case containing 5.7 x 28 mm rounds;
10            50.   1 ammo case containing 45 caliber rounds;
              51.   1 ammo case containing 40 cal rounds;
11            52.   1 Shotgun, SPAS 12, S/N: AA14591;
              53.   1 Winchester Rifle w/case, 30-30 caliber, S/N: 6562223;
12            54.   1 Desert Eagle Semi Automatic 44 caliber, S/N: 22692;
              55.   1 Revolver, Colt 45, 45 caliber, S/N: p21462;
13            56.   1 Smith & Wesson, semi-auto, model # 5906, S/N: TCT7120;
              57.   14 rounds 9 mm ammo and 1 magazine ( associated with Smith & Wesson TCT7120);
14            58.   9 rounds 44 caliber ammo w/magazine (associated with Desert Eagle 22692);
              59.   1 black gun box;
15            60.   1 Browning 22 caliber, S/N: 16025T37;
              61.   1 35 caliber rifle w/attached scope, Marlin Firearms, S/N: J15202;
16            62.   1 revolver with black handle, S/N: 16120;
              63.   1 Smith & Wesson 38 special (silver) w/wood handle, S/N: 92X87; and
17            64.   An in personam criminal forfeiture money judgment of $1,221,186.00 in United States
                    Currency.
18

19            This Court finds the United States of America is now entitled to, and should, reduce the
20   aforementioned property to the possession of the United States of America.
21            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
22   United States of America should seize the aforementioned property.
23            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
24   NICHOLAS GHAFOURIA in the aforementioned property is forfeited and is vested in the United
25   States of America and shall be safely held by the United States of America until further order of the
26   Court.

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 1            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
 2   shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
 3   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the
 4   time under the applicable statute when a petition contesting the forfeiture must be filed, and state the
 5   name and contact information for the government attorney to be served with the petition, pursuant to
 6   Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
 7            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
 8   with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
 9            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
10   shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
11   following address at the time of filing:
12                   Michael A. Humphreys
                     Assistant United States Attorney
13                   Daniel D. Hollingsworth
                     Assistant United States Attorney
14                   Lloyd D. George United States Courthouse
                     333 Las Vegas Boulevard South, Suite 5000
15                   Las Vegas, Nevada 89101.
16            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
17   need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
18   following publication of notice of seizure and intent to administratively forfeit the above-described
19   property.
20            DATED this ______          October
                          9th day of __________________, 2012.
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24                                                  UNITED STATES DISTRICT JUDGE
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 1                                             PROOF OF SERVICE
 2           I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following
 3   individuals were served with copies of the Preliminary Order of Forfeiture on October 4, 2012 by the
 4   below identified method of service:
 5           CM/ECF:
 6    Thomas F. Pitaro                                     Terrence M. Jackson
      1212 S. Casino Center Blvd.                          Law Office of Terrence M. Jackson
 7    Las Vegas, NV 89104                                  624 South Ninth Street
      thomaspitaro@yahoo.com                               Las Vegas, NV 89101
 8    Counsel for Nicholas Ghafouria                       Terry.Jackson.Esq@gmail.com
                                                           Counsel for Ki Yon Parker
 9    Shari L. Kaufman
      Federal Public Defender                              Osvaldo E. Fumo
10    411 E. Bonneville Suite 250                          Osvaldo E Fumo, Chtd.
      Las Vegas, NV 89101                                  1212 Casino Center Boulevard
11    Shari_Kaufman@fd.org                                 Las Vegas, NV 89104
      Counsel for Scott Thompson                           ozzie@fumolaw.com
12                                                         Counsel for Demtha L. Brown Jackson
      Angel H. Dows
13    Reade & Associates                                   Paula M. Armeni
      1333 North Buffalo Drive Suite 210                   Gordon & Silver, Ltd.
14    Las Vegas, NV 89128                                  3960 Howard Hughes Parkway Ninth Floor
      adows@readelawfirm.com                               Las Vegas, NV 89169
15    Counsel for Kimberly Crawford                        USDCNOTICES@gordonsilver.com
                                                           Counsel for Jacob Mclaughlin
16

17

18

19           /s/Ray Southwick
             Ray Southwick
20           Forfeiture Support Associates Paralegal
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